Case 0:22-cv-60112-RNS Document 25 Entered on FLSD Docket 06/06/2022 Page 1 of 1




                               United States District Court
                                         for the
                               Southern District of Florida

   Isaaca Thorpe, Plaintiff,        )
                                    )
   v.                               )
                                       Civil Action No. 22-60112-Civ-Scola
                                    )
   ARS Account Resolution Services, )
   Defendant.                       )
                         Order Scheduling Mediation
         The mediation conference in this matter will be held with Christopher E.
  Benjamin on September 9, 2022 at 10:00 a.m. at 150 S. Pine Island Rd. Suite
  300 Plantation, Florida 33324. The mediator and the parties have agreed to
  this date. It may not be rescheduled without leave of the Court. If, at the time
  of the scheduled mediation, travel and social-interaction restrictions are still in
  place or being recommended due to the coronavirus pandemic, the parties
  must arrange for mediation to occur via videoconference.
         The Court reminds the parties that the mediation report is due within
  seven days following the mediation conference. If the mediator fails to file a
  mediation report within seven days following the mediation conference, lead
  counsel must file a mediation report within 14 days after the mediation
  conference.
        Done and ordered, in Miami, Florida, on June 3, 2022.


                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge
